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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )                       CRIMINAL ACTION
                                    )
v.                                  )                       No. 12-20099-01-KHV
                                    )
MENDY READ-FORBES,                  )
                                    )
                        Defendant. )
____________________________________)

                               MEMORANDUM AND ORDER

       On September 24, 2015, defendant filed a Motion Under 28 U.S.C. § 2255 To Vacate, Set

Aside, Or Correct Sentence By A Person In Federal Custody (Doc. #255). This matter is before the

Court on defendant’s Motion To Recuse The Honorable Judge Vratil (Doc. #257), defendant’s

Motion To Appoint Counsel And Bond Release For Defendant (Doc. #256) and defendant’s Motion

For Immediate Release (Doc. #258). For reasons stated below, the Court overrules defendant’s

motions.

I.     Motion For Recusal

       Defendant asks the undersigned judge to recuse from deciding her Section 2255 motion

because of “personal bias or prejudice.” Motion To Recuse The Honorable Judge Vratil (Doc. #257)

at 1. Under 28 U.S.C. § 455(a), federal judges must disqualify themselves in any proceeding in

which their partiality might reasonably be questioned. Switzer v. Berry, 198 F.3d 1255, 1257 (10th

Cir. 2000); see also Code of Conduct for United States Judges, Canon 3, § C(1) (judge shall

disqualify herself in proceeding in which judge’s impartiality might reasonably be questioned). The

test is whether a reasonable person, knowing all the relevant facts, would harbor doubts about the

judge’s impartiality. Hinman v. Rogers, 831 F.2d 937, 939 (10th Cir. 1987). The statutory guidance
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for recusal must also be read in light of a judge’s “duty to sit” on cases filed with the Court. Nichols

v. Alley, 71 F.3d 347, 351 (10th Cir. 1995). The statute is not intended to give litigants a veto power

over sitting judges, or as a vehicle for obtaining a judge of their choice. United States v. Cooley,

1 F.3d 985, 992-93 (10th Cir. 1993). Consequently, a judge should not recuse on unsupported,

irrational or highly tenuous speculation. Hinman, 831 F.2d at 939 (citation omitted).

       Here, defendant asserts that the undersigned judge’s comments at sentencing prove bias.

Defendant has attached a two-page list of comments which purportedly reflect bias. Defendant

primarily cites comments which reflect that the Court did not believe her. See Motion To Recuse

The Honorable Judge Vratil (Doc. #257) at 3-4, citing comments at Transcript Of Sentencing (1-29-

15) (Doc. #236) at 174 (“it seems to me that you are such a drama queen and such a manipulator and

chronic liar”); Transcript Of Status Conference (2-12-15) (Doc. #237) at 42 (“I’m just saying your

[client] crossed the line in lying with the Court and it’s not a line that you can retreat from.”);

Transcript Of Status Conference (2-12-15) (Doc. #237) at 27 (referring to defendant’s “lack of

credibility with the Court”); Transcript Of Motion Hearing (4-22-15) (Doc. #230) at 15 (“she was

in my view intentionally lying to the Court and obstructing justice”). In context, the Court was

simply responding to various defense arguments that seemed to minimize defendant’s culpability

or suggest that a sentence at the low end of the guideline range was appropriate. The Court’s

comments also responded to defense arguments that she should receive a lesser sentence because

of an alleged mental disorder. See Transcript Of Sentencing (4-23-15) (Doc. #220) at 12 (“she

hasn’t always been honest with the people doing the evaluations and she’s been manipulative and

malingering”); id. at 34 (reports indicate “the way you’ve tried to manipulate the doctors and

malinger and not be honest about your needs and your motives”); Transcript Of Sentencing (1-29-


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15) (Doc. #236) at 177 (in response to defense counsel argument for lower sentence based on

personality disorder, Court noted reports that said defendant was lying, malingering and is trying

to fake evidence of a defense).

       A reasonable person with access to the relevant facts (including the context of the actual

statements) would not question the impartiality of the undersigned judge. Adverse rulings almost

never provide a basis for recusal, nor do opinions formed or expressed by a judge based upon the

record “unless they display a deep-seated favoritism or antagonism that would make fair judgment

impossible.” Liteky v. United States, 510 U.S. 540, 554-55 (1994). The comments here were based

upon the cases before the undersigned judge, not some extra-judicial source, and they do not reflect

deep-seated favoritism or antagonism that would make fair judgment impossible. See id. at 555-56

(expressions of impatience, dissatisfaction, annoyance and even anger do not support bias challenge

unless they display deep-seated favoritism or antagonism); United States v. Wisecarver, 644 F.3d

764, 771-72 (8th Cir. 2011) (no reasonable observer would have perceived that judge could not

continue to rule impartially in subsequent proceedings despite comment at sentencing that

defendant’s factual argument was “just a figment of his imagination” and finding for sentencing

purposes that defendant committed assault despite jury’s acquittal on that count); United States v.

Ransom, No. 09-6342, 2011 WL 2600609, at *4-5 (6th Cir. June 30, 2011) (recusal not required

based on prior finding in supervised release revocation proceeding that defendant was not credible);

United States v. Stewart, 378 F. App’x 773, 776-77 (10th Cir. 2010) (recusal not required based on

comment that defendant “cannot control himself in any context, let alone before a jury”); United

States v. Pulido, 566 F.3d 52, 56, 62 (1st Cir. 2009) (recusal not required based on prior comment

in sentencing memorandum in related case that defendant was “throughly corrupt police officer”);


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Edmond v. Athlete’s Foot Group, 15 F. App’x 738, 740 (10th Cir. 2001) (recusal not required in

civil matter simply because judge presided in previous criminal matter involving same party);

Hinman, 831 F.2d at 939 (judge should not recuse on unsupported, irrational or highly tenuous

speculation); In re Corrugated Container Antitrust Litig., 614 F.2d 958, 963–64, 966 (5th Cir. 1980)

(recusal not required in civil case simply because judge made evidentiary rulings during criminal

trial in which defendant was also involved); Smith v. United States, 360 F.2d 590, 592 (5th Cir.

1966) (trial judge familiar with defendant’s background by reason of having tried him in previous

cases not disqualified to try same defendant in subsequent cases); cf. Berger v. United States, 255

U.S. 22, 28 (1921) (finding extreme bias where district judge stated that it was difficult “not to be

prejudiced against the German Americans” because “[t]heir hearts are reeking with disloyalty”).

The Court therefore overrules defendant’s motion under Section 455(a).1

II.    Motion For Appointment Of Counsel

       Defendant, who is an attorney by education, asks the Court to appoint counsel. See 18

U.S.C. § 3006A(a)(2)(B) (court may appoint counsel for indigent person seeking relief under

Section 2255 if interests of justice so require). Defendant has no constitutional or statutory right to

appointment of counsel in the prosecution of a Section 2255 motion unless the Court determines that

an evidentiary hearing is required. Rule 8(c) of the Rules Governing Section 2255 Proceedings; see

Pennsylvania v. Finley, 481 U.S. 551, 555 (1987); United States v. Evans, 51 F.3d 287, 1995 WL

139420, at *1 (10th Cir. 1995); Swazo v. Wy. Dep’t of Corr. State Penitentiary Warden, 23 F.3d



       1
                In addition, under Section 455(b)(l), a judge must disqualify herself if she has a
personal bias or prejudice concerning a party. The undersigned has no such bias or prejudice against
defendant. See Liteky v. United States, 510 U.S. 540, 554-55 (1994) (bias and prejudice must come
from extrajudicial source).

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332, 333 (10th Cir. 1994). In determining whether to appoint counsel, the Court considers several

factors including (1) the merit of the litigant’s claims; (2) the nature of the factual issues raised in

the claims; (3) the litigant’s ability to present his or her claims; and (4) the complexity of the claims

involved. See Williams v. Meese, 926 F.2d 994, 996 (10th Cir. 1991). Here, at this preliminary

stage and in light of defendant’s education and apparent ability to present her claims, the Court

overrules defendant’s request to appoint counsel.

III.    Motions For Bond And Immediate Release

        Defendant seeks immediate release on bond pending the Court’s ruling on her Section 2255

motion. The Court has inherent power to release a defendant pending a ruling on a habeas petition.

Pfaff v. Wells, 648 F.2d 689, 693 (10th Cir. 1981). To obtain release, defendant must show

“exceptional circumstances” or a “clear case on the merits” of her petition. United States v.

Palermo, 191 F. App’x 812, 813 (10th Cir. 2006); Pfaff v. Wells, 648 F.2d 689, 693 (10th Cir.

1981). Defendant has not shown exceptional circumstances which would justify release after

serving some six months of a 240-month prison term. In addition, while defendant has raised

numerous claims in her 71-page motion to vacate (Doc. #255), she has not demonstrated a clear case

on the merits. The Court therefore overrules defendant’s request for bond and immediate release.

        IT IS THEREFORE ORDERED that defendant’s Motion To Appoint Counsel And Bond

Release For Defendant (Doc. #256) filed September 25, 2015 be and hereby is OVERRULED.

        IT IS FURTHER ORDERED that defendant’s Motion To Recuse The Honorable Judge

Vratil (Doc. #257) filed September 25, 2015 be and hereby is OVERRULED.

        IT IS FURTHER ORDERED that defendant’s Motion For Immediate Release (Doc. #258)

filed October 7, 2015 be and hereby is OVERRULED.


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     Dated this 19th day of October, 2015 at Kansas City, Kansas.

                                                 s/ Kathryn H. Vratil
                                                 KATHRYN H. VRATIL
                                                 United States District Judge




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